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                 8                        UNITED STATES DISTRICT COURT
                 9         CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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              11 HALEY VIDECKIS and LAYANA                      CASE NO. 2:15-CV-00298-DDP (JCx)
                 WHITE, individuals,
              12                                                JUDGMENT IN FAVOR OF
                              Plaintiffs,                       DEFENDANT PEPPERDINE
              13                                                UNIVERSITY AGAINST
                       v.                                       PLAINTIFFS HALEY VIDECKIS
              14                                                AND LAYANA WHITE ON JURY
                 PEPPERDINE UNIVERSITY, a                       VERDICTS
              15 corporation doing business in
                 California,                                    [Assigned to Hon. Dean D. Pregerson,
              16                                                Courtroom 9C]
                              Defendant.
              17
              18
              19           This action was duly tried before a jury beginning on July 18, 2017, the
              20 Honorable Dean D. Pregerson, presiding. The matter was duly submitted to the jury
              21 by means of two special verdicts consisting of a series of questions, one as to
              22 Plaintiff HALEY VIDECKIS and one as to Plaintiff LAYANA WHITE. On
              23 August 11, 2017, according to the instructions given by the Court, the jury returned
              24 its verdicts by way of its answers to the questions propounded to it finding in favor
              25 of Defendant PEPPERDINE UNIVERSITY with respect to all claims brought
              26 against it by both Plaintiff HALEY VIDECKIS and Plaintiff LAYANA WHITE.
              27 (Verdict Forms, ECF Doc No. 246 and 248.)
              28 / / /
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                      [PROPOSED] JUDGMENT IN FAVOR OF DEFENDANT PEPPERDINE UNIVERSITY AGAINST PLAINTIFFS
                                      HALEY VIDECKIS AND LAYANA WHITE ON JURY VERDICTS
         Case 2:15-cv-00298-DDP-JC Document 253 Filed 09/11/17 Page 2 of 2 Page ID #:4240




                 1         IT IS NOW, THEREFORE, ORDERED, ADJUDGED AND DECREED
                 2 as follows:
                 3         1.     Judgment is entered in favor of Defendant PEPPERDINE
                 4 UNIVERSITY (“PEPPERDINE”) and against Plaintiffs HALEY VIDECKIS and
                 5 LAYANA WHITE (“PLAINTIFFS”) on the first claim for relief in their Third
                 6 Amended Complaint for Violation of the Right of Privacy.
                 7         2.     Judgment is entered in favor of PEPPERDINE and against
                 8 PLAINTIFFS on the second claim for relief in their Third Amended Complaint for
                 9 Violation of the California Education Code sections 220, 66251 and 66270.
              10           3.     Judgment is entered in favor of PEPPERDINE and against
              11 PLAINTIFFS on the third, fourth and fifth claims for relief in their Third Amended
              12 Complaint for Violation of Title IX.
              13           4.     Judgment is entered in favor of PEPPERDINE and against
              14 PLAINTIFFS on the sixth claim for relief in their Third Amended Complaint for
              15 Violation of the California Civil Code section 51, et seq. (Unruh Act).
              16           5.     Judgment is entered in favor of PEPPERDINE and against
              17 PLAINTIFFS on the seventh claim for relief in their Third Amended Complaint for
              18 Intentional Infliction of Emotional Distress.
              19           6.     PLAINTIFFS shall take nothing from PEPPERDINE on any claim set
              20 out in this action.
              21           7.     Each party shall bear its own costs.
              22
              23 DATED: September 11, 2017
              24
                                                                   ______________________________
              25                                                        Hon. Dean D. Pregerson
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                                                               2
                      [PROPOSED] JUDGMENT IN FAVOR OF DEFENDANT PEPPERDINE UNIVERSITY AGAINST PLAINTIFFS
                                      HALEY VIDECKIS AND LAYANA WHITE ON JURY VERDICTS
